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                            Nos. 23-1900, 23-2043


           UNITED STATES COURT OF APPEALS
                FOR THE THIRD CIRCUIT

                            RONALD KOONS, et al.,
                                                        Plaintiffs-Appellees,
                                       v.

                   ATTORNEY GENERAL NEW JERSEY, et al.,
                                             Defendants-Appellants.


                 On Appeal from the United States District Court
       for the District of New Jersey, Nos. 1:22-CV-07464, 1:22-CV-07463
                        Before the Hon. Renee Marie Bumb


BRIEF FOR PROFESSORS OF PROPERTY LAW AS AMICI CURIAE IN
    SUPPORT OF DEFENDANTS-APPELLANTS AND REVERSAL



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                          INTEREST OF AMICI CURIAE1

      Amici curiae are law professors specializing in property law. Ian Ayres is

Oscar M. Ruebhausen Professor at Yale Law School. Fredrick Vars is Ira Drayton

Pruitt, Sr. Professor of Law at University of Alabama School of Law. Professors

Ayres and Vars have written extensively on the relationship between property law

and firearm regulation, including in their book Weapon of Choice: Fighting Gun

Violence While Respecting Gun Rights (Harv. U. Press, 2020).

      Amici have an interest in the doctrinal and policy issues implicated by this

case, particularly as they relate to the constitutionality of Section 7(a)(24), the

private-property rule of Chapter 131 of the 2022 Laws of New Jersey. Because

longstanding principles of property law clarify that an individual’s Second

Amendment right to carry ends at another’s property line, this Court should find

that the rule does not implicate the Second Amendment. The district court,

however, determined that the Second Amendment is implicated on “open” (i.e.,

commercial) but not “closed” private property, reasoning that there is a right to

carry onto property whose owner has provided a generalized “implied license” to


      1
         The views of the amici expressed here do not necessarily reflect the views
of the institutions with which they are or have been affiliated, whose names are
included solely for purposes of identification. Pursuant to Federal Rule of
Appellate Procedure 29, amici state that no counsel for a party authored this brief
in whole or in part, and no party or counsel for a party contributed money intended
to fund the preparation or submission of this brief. All parties consent to the filing
of this brief.
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enter. But the district court’s attempt to strike some perceived middle ground is

inconsistent with a property owner’s right to exclude—not to mention

constitutionally novel and conceptually untenable—and should thus be rejected by

this Court.

                                  INTRODUCTION

      The legislative selection of default rules, including whether guns are

presumptively permitted on private property, is part and parcel of States’ enduring

prerogative to reinforce private owners’ right to exclude. This selection does not

implicate the Second Amendment’s “plain text,” New York State Rifle & Pistol

Association v. Bruen, 142 S. Ct. 2111, 2129-2130 (2022), because the right to carry

is not a right to trespass and thus does not extend beyond another’s private

property line. New Jersey’s private-property rule, which construes a private

owner’s silence on the permissibility of firearms as disallowance while preserving

the owner’s ability in a wide variety of ways to welcome firearms if they so

choose, is thus constitutional.

      As explained in Part I, the Second Amendment does not guarantee a right to

bear arms on another’s private property over that owner’s objection. The owner’s

right to exclude is “universally held to be a fundamental element of the property

right,” Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2072 (2021), and




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necessarily encompasses the right to set terms of entry regarding firearms. Bruen

did not announce a right so sweeping as to displace centuries-old property rights.

      And just as there is no individual right to bear arms on another’s private

property contrary to the owner’s will, neither is there a freestanding constitutional

right to a presumption that a private owner welcomes firearms until they say

otherwise—what the district court in its TRO opinions called a “rebuttable

presumption to carry.” JA503; JA797. But constitutional rights do not operate in

such a conditional manner. Were there a right to carry firearms onto another’s

private property, it would trump an owner’s objection—not rise or fall with their

preference. Plainly, such a sweeping right would vitiate the right to exclude.

      As explained in Part II, the district court’s approach was flawed. To avoid

displacing the right to exclude, the court sought to strike a doctrinal middle ground

on two fronts—first watering down the right to public carry from a trump to a

presumption, and then extending it onto “open” but not “closed” private property

by reasoning that the Second Amendment tracks the state-law concept of implied

license. But these compromises lack constitutional or historical justification. This

Court should therefore reject the district court’s approach to Bruen Step One and

instead uphold the private-property rule for “open” and “closed” property alike. 2


      2
       Though this brief focuses on the Bruen Step One question, amici fully
agree with the State’s Bruen Step Two historical analysis. See Appellants’ Br. at
40-44. For the reasons described by the State, New Jersey’s private-property rule
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                                     ARGUMENT

I.    NEW JERSEY’S PRIVATE-PROPERTY RULE DOES NOT IMPLICATE THE
      SECOND AMENDMENT GIVEN PROPERTY OWNERS’ RIGHT TO EXCLUDE

      Under Bruen, a court must first ask whether “the Second Amendment’s plain

text covers an individual’s conduct.” 142 S. Ct. 2111, 2129-2130 (2022). Only if

the plaintiff has satisfied that inquiry does the burden shift to the government to

show that the firearm regulation is “consistent with the Nation’s historical tradition

of firearm regulation.” Id. at 2130. Plaintiffs here have failed to carry their initial

burden because the common-law right to exclude, which inheres in all private

property ownership, forecloses any possibility of extending Second Amendment

rights into the private-property domain. There is neither a right to carry weapons

onto another’s property without permission, nor a freestanding right to have an

owner’s silence on the permissibility of guns construed in the pro-firearms

direction. The selection of a default meaning of a private owner’s silence is

instead left to the States, consistent with their abiding prerogative to reinforce

property owners’ right to exclude.




is “consistent with the Nation’s historical tradition of firearm regulation,” Bruen,
142 S. Ct. at 2130, and should thus be upheld if the Court were to reach Step Two.
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      A.     The Right To Exclude Is Foundational To American Property
             Law And Presumes State-Created Default Rules

      The right to exclude others from interfering with one’s property is “one of

the most treasured” rights of property ownership. Cedar Point Nursery v. Hassid,

141 S. Ct. 2063, 2072 (2021). It inheres in all forms of private property, regardless

of whether property has been “opened” to the public to serve a commercial

function, because property does not “‘lose its private character merely because the

public is generally invited to use it for designated purposes.’” PruneYard

Shopping Ctr. v. Robins, 447 U.S. 74, 81 (1980) (quoting Lloyd Corp., Ltd. v.

Tanner, 407 U.S. 551, 569 (1972)). And it means that private owners retain broad

authority over who or what to admit onto their premises, and generally cannot be

forced by the State to grant access to unwanted entrants. See Cedar Point, 141 S.

Ct. at 2080 (determining that a regulation granting a person momentary access to

another’s property is a per se taking).

      But an individual’s constitutional right to exclude is not self-actualizing or

exercised in isolation. It is instead nested within a broad range of criminal, tort,

and property laws that effectuate the right by regulating informational exchange

between parties, imposing liability on those who violate an owner’s terms of entry,

and clarifying default rules around which an owner and potential entrants can

negotiate access.



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      First, States routinely shape how owners make exclusion decisions in the

first instance. Legislation promoting the disclosure of information by prospective

entrants can lower costs associated with the discovery of that information, enabling

owners to execute terms of entry that more closely align with their preferences.

See Strahilevitz, Information Asymmetries and the Rights to Exclude, 104 Mich. L.

Rev. 1835, 1837-1838 (2006). Similarly, tort rules imposing liability for

wrongdoing or injury arising on an owner’s premises can influence owners’

decisions to exclude certain people or forms of behavior. For instance, a private

owner bears a duty to protect guests from foreseeable dangers present on the land

or posed by other guests. See, e.g., Hopkins v. Fox & Lazo Realtors, 132 N.J. 426,

433 (1993). In the context of firearms possession, such liability may affect

owners’ decisions to admit guns onto their premises even though these rules do not

explicitly regulate guns as such. See Blocher & Miller, What Is Gun Control?

Direct Burdens, Incidental Burdens, and the Boundaries of the Second

Amendment, 83 U. Chi. L. Rev. 295, 298 (2016).

      Second, to enforce these private exclusion decisions, States have long

exercised their police power through trespass laws. Trespass statutes peg an

entrant’s lawful status to the informed consent of the private owner, enabling

owners to enforce their chosen terms of entry with the backing of the State’s

criminal sanction. See, e.g., State ex rel. Qarmout v. Cavallo, 774 A.2d 612, 614-

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615 (N.J. Sup. Ct. 2001) (finding criminal trespass where defendants were given

permission to enter another’s land to dump clean fill but instead dumped solid

waste). The law of civil trespass similarly reinforces an owner’s right to exclude

by empowering owners to demand compensation for unlawful entry. See N.J. Rev.

Stat. § 2A:63-1 (2019).

      Third, a private owner’s right to exclude is enforced through general default

rules. Such rules codify presumptions about the owner’s terms of entry, which

govern unless the owner states otherwise. As such, every State has—and must

have—default rules for trespass stipulating whether the absence of common

indicators of exclusion (e.g., a physical fence or public notice) communicates

consent to enter. States have also long adopted and reformulated default rules

calibrated to particular activities. For example, most States over the course of the

nineteenth century reversed the default rule as to whether domesticated cattle were

permitted to graze on the land of another property owner, thereafter placing the

burden on visiting ranchers to obtain an owner’s consent. See Ellickson, Of Coase

and Cattle: Dispute Resolution Among Neighbors in Shasta County, 38 Stan. L.

Rev. 623, 660-661 & n.95 (1986). The formulation and reformulation of default

rules remains a critical means by which States support the integrity of private

property. See, e.g., Township of Monroe, NJ Municipal Code § 76-1.A(30)(4)

(prohibiting consumption of alcohol on private property without owner’s consent);

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Borough of Westville, NJ General Legislation § 187-1, -2 (2007) (prohibiting

graffiti on private property without owner’s consent); City of Jersey City, NJ Code

of Ordinances § 245-7 (1978) (prohibiting solicitation on private property without

owner’s consent); Texas Parks & Wildlife Code § 61.022(a) (2020) (prohibiting

fishing and hunting on private property without the owner’s consent); Fla. Stat. §

934.50(3)(b) (2022) (prohibiting use of drone over private property without

owner’s consent).

      The significant variation in default rules, across American history and

between the fifty States, makes evident that default rules are not—and have never

been—fixed by federal constitutional law. A State is free to adopt new default

rules regarding the influx of firearms onto another’s private property, just as it has

been free to adopt new default rules particularized to grazing, hunting, solicitation,

graffiti, and consuming alcohol. The flexible and non-constitutional status of

property defaults is understandable considering that the regulation of private

property is largely left to the States and that default rules do not ban private

behavior (constitutionally protected or otherwise)—they simply establish baseline

terms from which private owners can easily depart.

      It has always been States’ legislative prerogative to set and adjust these rules

in accordance with public policy, including tailoring rules to the expectations and

preferences of private owners so as to reduce opt-out costs and produce more

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efficient arrangements. The Supreme Court recognized this very point in Breard v.

Alexandria, 341 U.S. 622 (1951), a decision upholding a municipal default rule

that presumptively disallowed door-to-door solicitation (a constitutionally

protected activity) unless a private owner expressly consented. The Court

understood that the City’s selected rule, rather than its opposite, made it more

likely that owners would have their preferred terms of entry enforced: “A

householder depends for protection on his city board rather than churlishly

guarding his entrances with orders forbidding the entrance of solicitors. A sign

would have to be a small billboard to make the differentiations between the

welcome and unwelcome that can be written in an ordinance once cheaply for all

homes.” Id. at 640.

      New Jersey’s shift from a “yes-carry” to a “no-carry” default was driven by

a similar concern: that guns were being brought onto private property without

informed consent from landowners. For one, there had been widespread

misunderstanding about the state of the law. Of polled New Jersey residents,

78.9% did not know whether a “[p]lumber is allowed to bring gun without

permission,” 71.9% did not know whether a “[f]riend is allowed to bring gun

without permission,” and 70.2% did not know whether “[c]ustomers are allowed to

bring gun into business.” See Ayres & Jonnalagadda, Guests with Guns: Public

Support for “No Carry” Defaults on Private Land, 48 J.L. Med. & Ethics 183,

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tbl.A6 (Winter 2020). And the small number of respondents who thought they

knew the law were often mistaken—for instance, these respondents were nearly

evenly split on the question of whether customers are allowed to bring guns into

private businesses. Id. The upshot of this confusion was that owners who

preferred not to have guns on their premises were often unknowingly permitting

them. Moreover, the “yes-carry” default raises a host of monitoring anxieties for

landowners, who have reason to fear that some carrying visitors will

unintentionally (or perhaps conveniently) fail to notice “no firearms” signs and

surreptitiously carry inside. Landowners may also reasonably fear that posting “no

firearms” signs, even if reflective of their underlying preferences, would lead

potential criminals to infer that the owner is unarmed and the property vulnerable.

      Given these circumstances, the “yes carry” default is not just bad policy; it

also imperils the right to exclude and its foundational status within our legal

system. But the “no carry” default enhances the possibility of meaningful

informed consent between landowner and entrant, thus bolstering the integrity of

private-property ownership.

      B.     A Constitutional Right To Carry A Weapon Onto Another’s
             Property Would Vitiate The Right To Exclude And Should
             Therefore Be Rejected

      As a default rule, the private-property rule does not ban the carrying of

firearms onto another’s private property; it recasts the meaning of a private


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owner’s silence on the issue. Because Plaintiffs bear the burden of demonstrating

that “the Second Amendment’s plain text covers [their] conduct,” Bruen, 142 S.

Ct. at 2129-2130, they must demonstrate that the act of carrying a gun onto

another’s property without first obtaining that owner’s permission—the “conduct”

encumbered by the rule—is “cover[ed]” by the plain text. For that to be so, one of

the following two propositions must be true: (1) the Second Amendment provides

a right to carry on certain classes of private property that trumps the objections of

private owners; or (2) the Second Amendment provides a standalone right to a

rebuttable presumption that a private owner welcomes firearms until they state

otherwise. Both propositions fail.

             1.     There is no constitutional right to carry firearms on private
                    property without a private property owner’s consent.

      Recognizing a Second Amendment right to carry onto another’s property

over their objection would be an unprecedented abrogation of the owner’s right to

exclude—the “hallmark of a protected property interest.” College Sav. Bank v.

Florida Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 673 (1999). As

the district court recognized in its preliminary injunction and temporary restraining

order opinions, such a right would bar States from enforcing through criminal-

trespass actions private owners’ decisions to exclude firearms, whether those

actions are brought under general criminal-trespass statutes or firearm-specific

statutes like New Jersey’s private-property rule. See JA137-JA138; JA511 (“No
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party disputes here that private property owners … have long had the right to

exclude firearms from their properties.”); JA796 (“[T]he Second Amendment does

not include protection for a right to carry a firearm in a place … against the

owner’s wishes.”).

      To start, nothing in Bruen itself indicates that the “public” right to carry

extends onto another’s private property. Construing “public” to include private

property, even if limited to private property open to the public, is at odds with

basic tenets of our constitutional tradition. In codifying a pre-existing common-

law right, the Second Amendment “did not expand, extend, or enlarge the

individual right to bear arms at the expense of other fundamental rights,” including

an “owner’s exclusive right to be king of his own castle.” GeorgiaCarry.Org, Inc.

v. Georgia, 687 F.3d 1244, 1264 (11th Cir. 2012), abrogated on other grounds by

Bruen, 142 S. Ct. at 2111. Rather, the right to bear arms was understandably

circumscribed by the common law of trespass, which predated the Second

Amendment and reflected an expansive right to exclude without any special carve-

out for firearms. See, e.g., Baker v. Howard Cnty. Hunt, 171 Md. 159, 168 (1936)

(surveying the history of “the relative rights of fox[] hunters and the owners of the

land over which they hunt” and finding “no doubt that … if the hunter himself goes

on the lands of another against the owner’s will, he is a trespasser”).




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      The historical absence of any firearms-related exception to the right to

exclude reflects the more general relationship between an owner’s right to exclude

and the rights of non-owners. Put simply, an entrant’s federal constitutional rights

have virtually no bearing on another’s use of their private property. Amici are

aware of only two potential instances where a private owner’s use of their property

has been constrained by the constitutional rights of non-owners: the enforcement of

racially restrictive covenants and restrictions on street expression in private

company towns. But neither offers a rationale relevant to the Second Amendment.

      In Shelly v. Kraemer, 334 U.S. 1 (1948), the Supreme Court prohibited the

judicial enforcement of a racially restrictive covenant. Its analysis turned on the

fact that the “[t]he owners of the properties were willing sellers” and that “but for

the active intervention of the state courts, … petitioners would have been free to

occupy the properties in question without restraint.” Id. at 19. In other words,

Kraemer did not concern the owners’ right to exclude; it instead pitted the sellers’

common-law right to disposition of the property and the buyers’ constitutional

right to equal treatment against the rights of the other neighborhood residents to

enforce the covenant. That property rights were involved on both sides of the

ledger makes it additionally difficult to isolate the role of the equal-protection right

in the Court’s analysis.




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      Marsh v. Alabama, 326 U.S. 501 (1946)—which held that a company

maintaining complete ownership over an Alabama town was barred by the First

Amendment from forbidding street distribution of religious materials—is similarly

inapposite. The Court later limited Marsh’s reach to the company towns of the

past, having recognized that “this Court has never held that a trespasser or an

uninvited guest may exercise general rights of free speech on property privately

owned.” Lloyd Corp., 407 U.S. at 568; see PruneYard, 447 U.S. at 81 (“[W]hen a

shopping center owner opens his private property to the public for purpose of

shopping, the First Amendment to the United States Constitution does not thereby

create individual rights in expression.”); Hudgens v. NLRB, 424 U.S. 507, 516-517

(1976). Entrants thus do not have rights of expression on private property,

regardless of whether the property is open or closed to the public. That remains

true even though, of course, the text of the First Amendment—like that of the

Second Amendment—does not draw an explicit distinction between public and

private property.

      Other First Amendment rights likewise end at the private-property line,

regardless of whether the property is open or closed. See, e.g., Rowan v. U.S. Post

Office Department, 397 U.S. 728, 737-738 (1970) (holding that “[t]he asserted

[First Amendment] right of a mailer [to send unwanted material to an unreceptive

addressee] … stops at the outer boundary of every person’s domain” as “[t]o hold

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less would tend to license a form of trespass”); Breard, 341 U.S. at 645 (upholding

a municipality’s no-solicitation default rule because “[i]t would be … a misuse of

the great guarantees of free speech and free press to … force a community to admit

the solicitors of publications to the home premises of its residents”); Dietemann v.

Time, Inc., 449 F.2d 245, 249 (9th Cir. 1971) (“The First Amendment [right to

newsgathering] is not a license to trespass[.]”); Spanish Church of God of Holyoke,

Mass., Inc. v. Scott, 794 F. Supp. 2d 304, 313 (D. Mass. 2011) (rejecting a defense

to trespass based in the right to religious exercise).

      In short, a private owner’s fundamental control over their dominion means

that they can prohibit firearms, just as they can prohibit handbill distributors,

association members, newsgathering journalists, or religious observers. Had the

Court in Bruen wished to upset the constitutional status of the right to exclude and

private property at large, it would have said so. Cf. Shalala v. Illinois Council on

Long Term Care, Inc., 529 U.S. 1, 18 (2000) (“This Court does not normally

overturn, or so dramatically limit, earlier authority sub silentio.”).

             2.     Neither is there a constitutional right to the presumption
                    that a private property owner welcomes firearms until they
                    have publicly stated their opposition

      Plaintiffs argue that there is a constitutional right to a presumption to carry

onto another’s private property even if there is no right to carry onto another’s

private property per se—that is, a right to carry that trumps the owner’s opposition.


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The district court reached a similar conclusion in the course of its Bruen Step One

analysis, see JA142, as discussed below in Section II.C. But this formulation is

likewise analytically and doctrinally unworkable.

      First, nothing in the Supreme Court’s constitutional jurisprudence suggests

that an individual right can exist in the partial or defeasible form of a rebuttable

presumption conditioning exercise on the permission of another individual. If

there truly were a right to carry onto private property, “open” or otherwise, that

would be a right to carry against an owner’s wishes. Consider the brief historical

period after Marsh, 326 U.S. 501, when the Court temporarily suggested that First

Amendment rights can extend onto private commercial property in special

circumstances. Before the Court reversed course and foreclosed any such

possibility in Lloyd Corporation v. Tanner, 407 U.S. 551 (1972), it treated this

right to free expression as a trump—not a mere entitlement to a presumption in the

pro-expression direction. That right supplied a constitutional defense to trespass

actions and thereby prevented owners from invoking trespass laws to exclude

unwanted forms of expression. See Marsh, 326 U.S. at 501 (overturning a criminal

trespass conviction); Amalgamated Food Emps. Union Loc. 590 v. Logan Valley

Plaza, Inc., 391 U.S. at 308 (1968), overturned by Lloyd Corp. v. Tanner, 407 U.S.

551 (1972) (prohibiting the use of trespass laws “to exclude those members of the




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public wishing to exercise their First Amendment rights on the premises.”). 3 So

too here: If this Court were to recognize a right to bear arms on another’s property,

that right would likewise prevent owners from excluding unwanted firearms

through the invocation of trespass laws.

      The “presumption” formulation is further belied by Bruen’s command that

Second Amendment rights be treated as trumps not subject to means-end scrutiny

or balancing analysis. The Court was clear that Heller and McDonald “expressly

rejected the application of any ‘judge-empowering’ interest-balancing inquiry.”

Bruen, 142 S. Ct. at 2129, 2130. Courts are thus not free to balance the purported

right to carry onto private property against the owner’s right to exclude firearms,

so as to fashion a presumption that stops short of a trump. Instead, considering the

absolute nature of a Second Amendment right, lower courts must be

extraordinarily careful to define the right’s scope without displacing other




      3
        State courts and the lower federal courts similarly treated that right as a
trump—never as a mere “presumption”—during this period. See, e.g., Schwartz-
Torrance Inv. Corp. v. Bakery & Confectionery Workers’ Union, Loc. No. 31, 394
P.2d 921, 922 (Cal. 1964) (prohibiting an owner from enjoining as trespass a union
protest); Sutherland v. Southcenter Shopping Center, 478 P.2d 792, 793 (Wash Ct.
App. 1970) (holding that “unconsented invasion of the property rights of owners
… to solicit signatures for an initiative is protected”), overruled by Southcenter
Joint Venture v. National Democratic Policy Committee, 780 P.2d 1282 (Wash.
1989); Central Hardware Co. v. NLRB, 439 F.2d 1321, 1328 (8th Cir. 1971)
(holding that solicitation on company premises in violation of employer’s explicit
prohibition was protected), vacated by 407 U.S. 539 (1972).
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constitutional guarantees. Here that means rejecting the notion that the right to

carry extends onto private property.

      C.     Alternative Theories As To How The Rule Implicates The Second
             Amendment Likewise Fail

      Even accepting that there is neither a right to carry onto another’s private

property over their objection nor a right that identifies an owner’s silence with

affirmative consent, Plaintiffs may try to argue that the rule encumbers the Bruen

right to carry because it may have the effect of reducing rates of public carry (i.e.,

gun owners seeking to enter a mix of public and private properties in a day may

personally decide to leave their guns at home). But any such “effects” theory of

the Second Amendment is untenable.

      First, aside from the Supreme Court’s passing references to potential as-

applied challenges to “shall-issue” licensing regimes that in practice operate as

“may-issue” regimes, see Bruen, 142 S. Ct. at 2138 n.9; id. at 2162 (Kavanaugh, J.,

concurring), nothing in either Heller or Bruen indicates concern for a statute’s

downstream effects on ownership or carry rates. In fact, concern over a law’s

indirect impact on protected conduct is characteristic of the means-end analysis

emphatically rejected in Bruen. See id. at 2129.

      Second, an effects theory would sweep whole swaths of State regulation into

the Second Amendment context. Countless laws and regulations—including those

that facially have nothing to do with firearms, like basic tort or criminal liability
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for injuries caused by accidental discharges—have significant if not comparatively

greater disincentivizing effects. See supra Section I.A. Even a general criminal-

trespass statute in combination with the old default rule (a “yes-carry” default) has

a disincentivizing effect that may match the effect under the new “no-carry”

default, as countless storekeepers and landowners will continue to prohibit guns by

leveraging trespass liability under either default rule.

      Third, even if effects were to somehow matter constitutionally, the relevant

measurement is the reduction in carrying caused by property owners who want to

permit visitors to carry guns but for some reason fail to contract around the “no-

carry” default. But the size of this effect is likely limited given the broad support

for a “no carry” default. See Ayres & Jonnalagadda, supra, at 187-189, tbl.A4

(finding that only 21.1% of New Jersey respondents said that a plumber should be

allowed to bring a gun onto one’s premises without express permission, only

22.8% said that a visiting friend should be allowed to bring a gun without express

permission, and only 33.3% said that a customer should be allowed to bring a gun

onto commercial property without express permission).

II.   THE DISTRICT COURT’S ANALYSIS OF BRUEN STEP ONE COMMITS A
      VARIETY OF LEGAL ERRORS WARRANTING REVERSAL

      Calling the scope of the right to carry a “thorny question,” JA134, the

district court determined that the right to carry extends, in the form of a

presumption, onto private property held open to the public because the right is
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purportedly implicated wherever individuals “would be ordinarily considered

invitees or licensees.” JA136. But neither the distinction between “open” and

“closed” private property, nor the “presumption” formulation of the right, has a

constitutional basis—Second Amendment or otherwise.

      A.     There Is No Logical Connection Between The Concept Of Implied
             License And The Scope Of The Second Amendment

      The district court reasoned that the private-property rule meets Bruen Step

One because it “revoke[s] firearm carriers’ implied invitation to enter” another’s

property (JA141) and suggested that the State and amici had “conveniently glossed

over” this fact (JA137). But the rule’s revocation of implied license with respect to

firearms is simply another way of describing its (undisputed) legal and practical

effect, not an explanation for why the rule raises a constitutional problem.

      When owners “open” their property to members of the public, courts infer

that the owner has extended an implied license that is circumscribed by the

functions of the property. See Cooley, A Treatise on the Law of Torts or the

Wrongs Which Arise Independent of Contract 303 (1879) (observing that the

license to enter a commercial establishment “is limited by the purpose” of the

establishment); State v. Ingram, 289 A.3d 509, 536 (N.J. Sup. Ct. 2023)

(explaining that “‘[t]he scope of a license—express or implied—is limited not only

to a particular area but also to a specific purpose’” (quoting Florida v. Jardines,

569 U.S. 1, 9 (2013)). For instance, a grocery store extends an implied license to
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shop for food but not to sit and play cards. But the district court never explains

why an owner’s grant of an implied license to enter an establishment justifies the

extension of a constitutional right onto that property. In fact, if license to enter

were sufficient to generate a right to carry, then lawful entrants onto “closed”

private property would also have such a right—a conclusion at odds with the

district court’s own holding. The focus on the concept of implied license is

therefore misplaced.

      Instead, the most conceivable rendering of the district court’s reasoning

proceeds along the following syllogism: (1) Because Bruen states that there is a

right to carry in public, and (2) the public consists of governmental property as

well as private real property that members of the public have implied license to

enter, then (3) there must be a right to carry onto private property that members of

the public have implied license to enter. Implied license and the right to carry only

appear to track one another because the presence of an implied license is, in the

district court’s view, an appropriate proxy for private real property that forms some

notion of “the public.” But this syllogism’s crucial premise—that “the public”

referenced in Bruen includes private real property held open to individuals at

large—finds no justification in the district court’s opinion or elsewhere. The

linking of the Second Amendment to the concept of implied license thus turns

entirely on a semantic elision.

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      As explained in detail in Part I, nothing in Bruen suggests that the “public”

right to carry extends onto private property. The Second Amendment did not

displace the right to exclude or except firearms from that right. And an entrant’s

federal constitutional rights have never constrained another’s use of their private

property or the State regulation of another’s property. (The only potential

exceptions—Marsh and Kraemer—are inapposite. See Section I.B supra.) Just as

First Amendment rights end at another’s property line, regardless of whether the

property is open or closed to the public, so too does the public right to carry.

      B.     Defining the Second Amendment Scope Along The Concept Of
             “Implied License” Would Be Unworkable And Internally
             Contradictory

      Setting aside the absence of any historical or constitutional basis for treating

implied license as the cornerstone of Second Amendment doctrine, the district

court’s approach would be unworkable for other reasons.

      First, the district court’s assumption that there had in fact been a robust

implied license to bring firearms onto private premises prior to the rule’s

enactment (see JA138-JA141) is at the least questionable. An implied license is

shaped by the expectations shared between owners and entrants as to the kinds of

behaviors permitted inside a particular kind of property and is thus empirical and

highly contextual. See Cooley, supra, at 303. But before the enactment of the

private-property rule, most people in New Jersey assumed that the rule had been


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law: 70.2% of those polled did not know whether “[c]ustomers are allowed to

bring gun into business,” and half of those who believed they knew mistakenly

thought that a no-carry default had already been law. See Ayres & Jonnalagadda,

supra, at tbl.A6. If implied license really were the lodestar of the Second

Amendment, this widespread confusion over the scope of that license with respect

to firearms on commercial premises would undercut the district court’s holding.

      Second, the world of private real property is not so easily divided into

“implied-license establishments” and “closed establishments.” There are many

kinds of establishments that resist being mapped along this binary (e.g., a factory

or corporate office), as underscored by the nebulous character of the district court’s

list. See JA137 (postulating that “closed” property “typically includes … some

commercial, agricultural, or industrial property and/or facilities”). The confusion

only grows because an “implied license to enter” is not a fixed quality but instead

varies depending on a multitude of factors, including time of day and the purpose

assumed by a potential entrant. See Cooley, supra, at 306. It thus remains highly

unlikely that courts—much less the citizens of New Jersey—will manage to

consistently anticipate which establishments fall on the right side of this binary so

as to infer where the rule operates.

      And third, the approach lends itself to contradictory results. Consider a

situation where a store owner tells an entrant to leave—perhaps because the entrant

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was caught stealing, accosting another customer, or declining to wear a shirt—but

the entrant refuses to leave and so the police are called. It turns out that the entrant

had carried a firearm into the store. Even if it could be said that the store falls on

the “implied license establishment” side of the district court’s binary, that license

would not extend to an entrant who violates implied conditions of entry like those

regarding stealing or nudity. That license would also by definition be revoked the

moment an entrant refuses an explicit directive to leave the property, regardless of

the owner’s reasons for issuing that directive. It is thus difficult to see how this

hypothetical defendant would claim an implied license to enter (and the right to

carry, to the extent it is keyed to license) as a constitutional defense to the

application of the rule.

      C.     The District Court’s Attempt To Reconcile The Right To Exclude
             With The Right To Carry By Formulating The Right In
             Defeasible Terms Fails

      The district court insisted that its decision extending the right to carry onto

private commercial property maintains rather than displaces the right to exclude

because it established only a “rebuttable” constitutional presumption to carry onto

open property but not “a right to trespass with firearms (i.e., to carry ‘against an

owner’s wishes’).” JA136. But this attempt to split the difference amounts to

balancing the purported right to carry against the private owner’s right to exclude:

It presumes that the Bruen right to carry extends onto private property, but when it


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conflicts with the owner’s right to exclude, the right to exclude generally prevails.

Again, that is not how the Second Amendment right works in light of Bruen and

background constitutional principles. See supra Section I.B.

      Still, in its TRO decisions (though not in the preliminary injunction

decision), the district court tried to justify constitutionalizing a presumption by

reasoning that such a presumption exists in the First Amendment context.

According to the court, a State “cannot pass legislation that praying before a meal

is unlawful unless a restauranteur expressly consents …. Nor could the State ban

an individual from wearing a political T-shirt in an office park unless the leasing

agent expressly consents.” JA507. But this comparison is inapposite.

      For one, the Supreme Court cases referenced in the court’s analysis—

Kennedy v. Bremerton School District, 142 S. Ct. 2407 (2022), and Minnesota

Voters Alliance v. Mansky, 138 S. Ct. 1876 (2018)—address governmental

prohibitions of protected conduct arising on public property (e.g., a ban on prayer

on a public football field and a ban on wearing political insignia inside a polling

place), and thus do not shed light on how a default-shifting statute recasting the

meaning of a private owner’s silence vis-à-vis prayer or political attire would

figure into the First Amendment.

      In any case, there are significant doctrinal differences between the First and

Second Amendments that complicate the analogy. Inherent in the Religion

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Clauses and Free Speech Clause are content and viewpoint neutrality principles

barring the government from favoring certain forms of speech over others, which

makes it unlikely that any statute involving “prayer” or “political T-shirt[s]” would

pass constitutional muster. See, e.g., Bremerton Sch. Dist., 142 S. Ct. at 2422 (“A

government policy will not qualify as neutral if it is ‘specifically directed at …

religious practice.’”). But there is no comparable Second Amendment neutrality

principle. It is not the case, for instance, that States are barred from pursuing non-

neutral purposes like reducing gun violence through, say, voluntary gun-buyback

programs. Nor is it the case that all regulations facially related to “firearms” or

“guns,” which would include all firearm licensing regimes, axiomatically meet

Bruen Step One and are thus presumptively unconstitutional. Otherwise, the Bruen

Court could have said as much without undertaking a Step One interpretation of

“keep and bear arms.”

      Finally, the Supreme Court’s reasons for rejecting a First Amendment

constitutional presumption in Breard, 341 U.S. at 622, as discussed in Section I.A

supra, further elucidate the problems with the district court’s “presumption”

formulation of the right. The municipality’s no-solicitation default alleviated

homeowners from “churlishly guarding [their] entrances with orders forbidding the

entrance of solicitors,” id. at 640, but still respected the constitutionally protected

status of solicitation by providing owners with the possibility of opting to allow it.

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Indeed, the fact that a no-solicitation default preserved the homeowner’s authority

to admit or exclude solicitors, thereby reinforcing rather than undercutting their

right to exclude, distinguished it constitutionally from a no-solicitation ban or a

regulation that reappropriates discretionary authority over entry decisions to the

State. Cf. Watchtower Bible & Tract Soc’y v. Village of Stratton, 536 U.S. 150

(2002) (striking down an ordinance requiring that solicitors obtain a City official’s

permission to engage in door-to-door solicitations); Martin v. City of Struthers, 319

U.S. 141, 143-144, 147 (1943) (striking down ordinance banning handbill and

circular distribution because “[it] submits the distributor to criminal punishment

for annoying the person on whom he calls, even though the recipient of the

literature distributed is in fact glad to receive it” and thus no longer “leav[es] to

each householder the full right to decide whether he will receive strangers as

visitors”). New Jersey’s private-property rule reflects an identical constitutional

structure: it alleviates the need for a home or store owner to closely monitor the

influx of firearms—so as to ensure that carrying entrants have not ignored or

overlooked a notice posted at an entrance—while preserving the owner’s ultimate

choice over the presence of firearms on their premises.

                                   CONCLUSION

      Enduring principles of property law establish that New Jersey’s private-

property rule is constitutional. The Court should find the private-property rule


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constitutional in full, and therefore affirm in part and reverse in part the district

court’s holding with respect to that rule.

                                             Respectfully submitted.


                                             /s/ Alan Schoenfeld
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July 27, 2023




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                   CERTIFICATE OF BAR MEMBERSHIP

      I hereby certify that I am counsel of record and a member in good standing

of the Bar of the United States Court of Appeals for the Third Circuit.


                                               /s/ Alan Schoenfeld
                                               ALAN SCHOENFELD
July 27, 2023




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                                                 /s/ Alan Schoenfeld
                                                 ALAN SCHOENFELD
July 27, 2023




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